                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                  CHARLOTTESVILLE DIVISION

  CYNTHIA B. SCOTT, et al.,                            )
                                        Plaintiffs,    )         CASE NO. 3:12-CV-00036
                                                       )
  v.                                                   )
                                                       )         FINAL JUDGMENT ORDER
  HAROLD W. CLARKE, et al.,                            )
                                                       )         By: Norman K. Moon
                                        Defendants.    )         United States District Judge


          The Plaintiff Class (collectively, “the Plaintiffs”) and Defendants Harold W. Clarke, A.

  David Robinson, Frederick Schilling, and Tammy Brown, each in their official capacities as

  representatives of the Virginia Department of Corrections (“the VDOC Defendants”), have

  agreed upon the substantive provisions of a Settlement Agreement.            The Court previously

  certified a class under Fed. R. Civ. P. 23(b)(2) to include all women who currently reside or will

  in the future reside at the Fluvanna Correctional Center for Women (“FCCW”) and who have

  sought, are currently seeking or will seek adequate, appropriate medical care for serious medical

  needs, as required by the Eighth Amendment. (Dkts. 188 & 189).

          The Court gave preliminary approval of the Settlement Agreement on September 15,

  2015.   (Dkt. 222).    The Settlement Agreement resolves the issues set forth in Plaintiffs’

  Amended Complaint (see dkt. 58) as to all members of the Plaintiff Class. A fairness hearing

  was held on November 9, 2015, regarding final approval of the Settlement Agreement. The

  parties have also reached an agreement regarding the amount of attorneys’ fees and costs to be

  awarded to Plaintiffs in this matter. (See dkts. 226 & 258).

          In accordance with the Court’s Findings of Fact and Conclusions of Law entered

  contemporaneously herewith, it is ORDERED, ADJUDGED, and DECREED as follows:

          1.     Final approval of the Settlement Agreement is GRANTED, and the Settlement



Case 3:12-cv-00036-NKM-JCH Document 262 Filed 02/05/16 Page 1 of 2 Pageid#: 5264
                   Agreement is deemed implemented as of the date of entry of this order;

            2.     Plaintiffs’ motion for attorneys’ fees and costs (dkt. 226) is GRANTED in part.

                   Plaintiffs are awarded one million five hundred thousand dollars ($1,500,000.00)

                   in attorneys’ fees and costs;

            3.     As contemplated by the Settlement Agreement, the Court shall retain jurisdiction

                   for purposes of ensuring the implementation of the Settlement Agreement and

                   shall preside over such further proceedings as may be necessary or appropriate to

                   enforce its terms and conditions.

            The Clerk of the Court is directed to strike this matter from the active docket of the

  Court. The Clerk is further directed to send a certified copy of this Order to all counsel of

  record.

            Entered this ______
                          5th   day of February, 2016.




Case 3:12-cv-00036-NKM-JCH Document 262 Filed 02/05/16 Page 2 of 2 Pageid#: 5265
